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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DAVID A. JOFFE,

         Plaintiff,
                                           Case No. 17-cv-3392 (VEC)
 v.


 KING & SPALDING LLP,



        Defendants.




             MEMORANDUM OF LAW IN SUPPORT OF MOTION
      OF JAVERBAUM WURGAFT HICKS KAHN WIKSTROM & SININS, P.C.
        TO WITHDRAW AS COUNSEL FOR PLAINTIFF AND TO AFFIX A
                CHARGING LIEN AND A RETAINING LIEN




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                                     PRELIMINARY STATEMENT

       Pursuant to Local Civil Rule 1.4, Javerbaum Wurgaft Hicks Kahn Wikstrom & Sinins, P.C.

(“JW”) seeks leave to withdraw as counsel for Plaintiff David Joffe (“Plaintiff” or “Mr. Joffe”). It also

respectfully requests that the Court affix a charging lien against any proceeds recovered by Plaintiff in

this matter as well as a retaining lien for expenses incurred.

       As set forth infra, JW has multiple bases for its application to withdraw. First, Mr. Joffe has

deliberately disregarded his obligation to pay fees and expenses as required under his agreement with

JW. In addition,



                             he has made it “unreasonably difficult” for JW to continue to represent him.

       As set forth below, because JW has good cause for its application to withdraw, it should be

granted a charging lien pursuant to New York Judiciary Law § 475. With regard to the amount of this

lien, JW asks that the Court exercise its discretion and defer this determination until the conclusion of

the litigation. Finally, JW has incurred $38,475.85 in expenses in this matter. JW respectfully requests

that the Court permit it to affix a retaining lien for this amount.

                                        STATEMENT OF FACTS

A.     Mr. Joffe’s breach of his retainer agreement

       On or about January 25, 2017, Mr. Joffe retained JW to represent him. See Declaration of

Andrew Moskowitz (“Moskowitz Decl.”) ¶ 2; id., Exhibit A. JW agreed to attempt to negotiate a

settlement for Mr. Joffe, and if unsuccessful, to file a lawsuit on his behalf. During the negotiation

phase, Mr. Joffe paid a fee of $2,500. Id. When the parties were unable to reach an agreement, JW filed

suit. Id. Mr. Joffe agreed to make an initial payment of $5,000 prior to the filing of suit, and thereafter,




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“monthly payments of $1,250 for twelve (12) months on the first day of each month.” Retainer

Agreement ¶ 1(B) at 1 (Moskowitz Decl., Exhibit A).

       The Retainer Agreement also required Mr. Joffe “[to] pay the following costs and expenses:

investigator fees, court reporting costs, expert fees, filing/recording fees, messenger services, court

costs, photocopying charges, postage and any other necessary expenses in this matter.”        Retainer

Agreement ¶ 2 at 2 (Moskowitz Decl., Exhibit A). Mr. Joffe agreed to “pay all bills as required by this

Agreement. If you do not comply with these requirements, the Law Firm may ask the Court for

permission to withdraw from representing you.” Id. ¶ 3 at 2.

       Mr. Joffe has failed to pay the fees required under the Retainer Agreement. Specifically, he has

made only seven (7) of the twelve (12) monthly payments of $1,250, leaving a balance of $6,250.

Moskowitz Decl. ¶ 4. The final fee payment was made on December 1, 2017. Despite due demand, he

has not resumed making these payments. Id.

       In addition, JW has incurred $38,475.85 in expenses in this matter. Moskowitz Decl. ¶ 5; id.,

Exhibit B (itemization of expenses). In or about the end of October 2017, Mr. Joffe agreed to begin

making monthly payments of $1,250 to be applied against the expenses that had been incurred.

Moskowitz Decl. ¶ 5. Specifically, in an email on October 24, 2017, he represented that he would

“continue making these monthly payments until they fully cover the incurred costs or until the case is

resolved, at which point any unpaid portion will become due immediately.” Id. Accordingly, on or

about January 3, 2018, Mr. Joffe made a payment of $1,250. Id.

       Thereafter, Mr. Joffe refused to make any additional payments for expenses. Moskowitz Decl. ¶

6. In a February 7, 2018 email, JW attorney Andrew Moskowitz, Esq. summarized the situation to Mr.

Joffe as follows:




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       Paragraph 2 holds you responsible for paying all costs and expenses. Paragraph 3 states,
       “You must also pay all bills as required by this Agreement.” You initially paid all costs
       as they were incurred.

        When your finances became tight you asked for some relief. Accordingly, we agreed (as
       the email you just forwarded me confirms) that ‘after the end of the monthly payment
       periods in our original engagement letter, I will continue to make, on the same terms,
       payments of $1,250 per month towards outstanding costs incurred by JW. I will continue
       making these monthly payments until they fully cover the incurred costs or until the case
       is resolved, at which point any unpaid portion will become due immediately.’ … Last
       month you made your first payment for $1,250 to be credited toward expenses. Now you
       have told me that you were no longer [going to] do that.

       Therefore, you are in breach of our agreement.

Email dated February 7, 2018 (Moskowitz Decl., Exhibit C).

       Mr. Joffe responded




B.     Breakdown in the attorney-client relationship

       As the Court is aware, Mr. Joffe is a lawyer with litigation experience. From the outset, he has

sought to work as co-counsel and to involve himself in absolutely every aspect of this case. In February

2018, the relationship began deteriorating. Moskowitz Decl. ¶ 8.




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       During the period in which defendants’ summary judgment motion was pending—February to

May 2018—Mr. Joffe and JW had very little contact. Moskowitz Decl. ¶ 9. After the Court announced

at the hearing on May 22, 2018 that it was denying defendant’s summary judgment motion, Mr. Joffe

and JW began discussing the retention of experts and preparation for trial. Id. Over the next month, the

relationship between Mr. Joffe and JW deteriorated to the point where the firm concluded it could no

longer represent him. Id.

       Throughout this case, Mr. Joffe has refused to accept JW’s recommendations regarding




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       An additional disagreement that developed between Mr. Joffe and JW concerned the staffing of

this matter. Moskowitz Decl. ¶ 12.




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An additional area of disagreement that developed concerned the retention of experts.




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       Mr. Joffe has informed JW that, assuming he has an adequate opportunity to engage new

counsel, he would consent to JW’s withdrawal. Moskowitz Decl. ¶ 22. Since June 26, Mr. Joffe has

actively sought new counsel to assume his representation. JW has cooperated in this process and spoken

to three (3) attorneys regarding the case. In addition, because the Court declined to stay this case

pending JW’s motion to withdraw, JW has continued to work with economic damages and

employability experts that were retained on Plaintiff’s behalf. Id. Moreover, although the Court has set

a deadline of August 3, 2018 for the completion of expert discovery, the parties had agreed to make a

joint application to extend this deadline to September 7, 2018. Id. ¶ 23.

                                         LEGAL ARGUMENT

       This Court’s rules provide that “[a]n attorney who has appeared as attorney of record for a party

may be relieved or displaced only by order of the Court and may not withdraw from a case without leave

of the Court granted by order.” Loc. Civ. R. 1.4. In determining whether to grant such an application, a

court must “analyze two factors: the reasons for withdrawal and the impact of the withdrawal on the

timing of the proceeding.” Karimian v. Time Equities, Inc., No. 10 Civ. 3773, 2011 U.S. Dist. LEXIS

51916, 2011 WL 1900092, at *3-4 (S.D.N.Y. May 11, 2011).           Rule 1.16 of the Rules of Professional

Conduct (RPC) provides that an attorney may seek to withdraw from representing a client for several

reasons including when “the client deliberately disregards an agreement or obligation to the lawyer as to




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expenses or fees; ... [or] fails to cooperate in the representation or otherwise renders the representation

unreasonably difficult for the lawyer to carry out employment effectively.”

I.     JW’S MOTION TO WITHDRAW SHOULD BE GRANTED

A.     Bases for withdrawal

1.     Mr. Joffe’s failure to pay fees and expenses

       “[I]t is firmly established that non-payment of legal fees is a valid basis for granting a motion to

withdraw pursuant to Local Rule 1.4.” Star Funding, Inc. v. Vault Minerals, LLC, 15-CV-03026

(GBD)(SN), 2017 U.S. Dist. LEXIS 218629, at *3-4 (S.D.N.Y. Aug. 31, 2017) (citing Thekkek v.

LaserSculpt, Inc., No. 11-CV-4426 (HB) (JLC), 2012 U.S. Dist. LEXIS 7646, 2012 WL 225924, at *2

(S.D.N.Y. Jan. 23, 2012)); Stair v. Calhoun, 722 F. Supp. 2d 258, 265 (E.D.N.Y. 2010) (“[f]ailure to pay

legal fees has been found to be a legitimate ground for granting a motion to withdraw by several courts

in this Circuit.”) (citing cases).   In Star Funding, the court granted defendants’ counsel’s motion to

withdraw after his clients had accumulated “unpaid attorneys' fees totaling approximately $36,000 over

a period of eight months,” and he had “made multiple requests to be paid the outstanding balance, yet

continued to perform work upon the demands of [defendants]…” Star Funding, Inc., 2017 U.S. Dist.

LEXIS 218629, at *2-3.

       As set forth supra, even after he was informed that he was in breach, Mr. Joffe has deliberately

disregarded his obligation to pay fees and expenses as required under the Retainer Agreement.

Moskowitz Decl. ¶¶ 4-6; Exhibits D-F.



Accordingly, due to Mr. Joffe’s deliberate disregard of his obligation, see RPC 1.16(5), JW should be

permitted to withdraw.




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2.     Irreconcilable difficulties between JW and Mr. Joffe

        “[G]ood cause for withdrawal exists where there are ‘irreconcilable differences ... with respect

to the proper course to be pursued in the litigation,’ where ‘the client flatly challenge[s] [counsel's]

loyalty and professional integrity,’ or where ‘the relationship between plaintiff[s] and [their] attorney

ha[s] deteriorated to the point where further representation [is] inappropriate.” Karimian, 2011 U.S.

Dist. LEXIS 51916, at *3, 2011 WL 1900092 (quoting Lake v. M.P.C Trucking Inc., 279 A.D.2d 813,

718 N.Y.S.2d 903, 904 (3d Dep't 2001)). Indeed, “[c]ourts have repeatedly found good reason for

withdrawal when lawyers and their counsel have irreconcilable differences and when attorney-client

relationships become acrimonious.” Raji v. Societe Generale Ams. Sec. LLC, 15-CV-1144 (AT) (JLC),

2016 U.S. Dist. LEXIS 175919, at *6 (S.D.N.Y. Dec. 19, 2016) (citing cases). For example, in Raji, the

court granted plaintiff’s counsel’s motion to withdraw after determining that his relationship with

plaintiff “has deteriorated to the point that it is highly unlikely that they can collaborate effectively on

this litigation going forward. Moreover, they have drastically different views of the case's value, which

has led to fundamental disagreements about how to proceed.” Raji, 2016 U.S. Dist. LEXIS 175919, at

*7.

       “Further, courts have repeatedly found withdrawal to be appropriate when the client does not

cooperate with the attorney in the litigation.” Raji, 2016 U.S. Dist. LEXIS 175919, at *6-7 (citing

cases); United States v. Lawrence Aviation Indus., CV 06-4818 (JFB)(ARL), 2011 U.S. Dist. LEXIS

13777 (E.D.N.Y. 2011) (“[i]t is well-settled that a lawyer may seek to withdraw when the client ‘renders

it unreasonably difficult for the lawyer to carry out [such] employment effectively.’” (quoting Stephen

Eldridge Realty Corp. v. Green, 174 A.D.2d 564, 566, 570 N.Y.S.2d 677, 678 (2d Dep't 1991)); C.D.S.

Inc. v. Zetler, 16-CV-3199 (VM) (JLC), 2017 U.S. Dist. LEXIS 43159, at *17, 2017 WL 1103004

(S.D.N.Y. March 23, 2017) (granting application to be relieved as counsel where evidence demonstrated



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an “obvious breakdown in the attorney-client relationship, as Plaintiffs and [withdrawing counsel]

agreed on virtually nothing with respect to the past, present, or future course of the litigation,” as well a

lack of trust between the two parties; termination of the attorney-client relationship was ‘‘in the best

interest of both.’”) (quoting Benvenisti v. City of New York, No. 04 Civ. 3166, 2006 U.S. Dist. LEXIS

396, at *1, 2006 WL 44039 (S.D.N.Y. Jan. 6, 2006); Jackson v. Lowe’s Cos., Inc., 15-cv-4167 (ADS)

(ARL), 2016 U.S. Dist. LEXIS 146159 (E.D.N.Y. Oct. 21, 2016) (in granting application

notwithstanding that final pretrial conference was scheduled for less than two weeks later, court noted

that client’s failure to cooperate was a valid basis to grant a motion to withdraw).




       In sum, the relationship between Mr. Joffe and JW “has deteriorated to the point that it is highly

unlikely that they can collaborate effectively on this litigation going forward. Moreover, they have




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drastically different views of the case’s value, which has led to fundamental disagreements about how to

proceed.” Raji, 2016 U.S. Dist. LEXIS 175919, at *7.

B.      Granting JW’s motion should not affect the timing of the proceeding; to the extent that this
        possibility exists, Mr. Joffe’s conduct should override this consideration

        Prior to JW determining that it could no longer represent Mr. Joffe, it had agreed to make a joint

application with Defendant to extend the expert discovery deadline to September 7, 2018. Moskowitz

Decl. ¶ 23. In addition, as noted supra, JW has cooperated with Mr. Joffe in his efforts to obtain new

counsel and, in the interim, continued to work with economic damages and employability experts that

were retained on Plaintiff’s behalf. Id. ¶ 22. Assuming that Mr. Joffe is able to retain new counsel in

the next thirty (30) days, this Court should still be able to schedule a trial in this matter for the fall.

        Moreover, while a court must of course be mindful of “judicial economy ... there are some

instances in which an attorney representing a plaintiff in a civil case might have to withdraw even at the

cost of significant interference with the trial court’s management of its calendar.” Whiting v. Lacara,

187 F.3d 317, 321 (2d Cir. 1999).          In Whiting, the plaintiff’s counsel Lacara sought to withdraw

because, inter alia, the plaintiff Whiting insisted that counsel call witnesses who were detrimental to

plaintiff’s case. Id. at 322. The evidence before the panel also demonstrated that there was hostility

between Whiting and Lacara and that the former was dissatisfied with Lacara’s representation. In

reliance on the bases for permissive withdrawal set forth in DR 2-110(C)(1) (the predecessor to RPC

1.16), the Second Circuit determined that the attorney Whiting had demonstrated that Lacara had

“‘rendered it unreasonably difficult for [Lacara] to carry out employment effectively...’” Id. at 321

(citing DR 2-110(C)(1)(d)). The Court found that Whiting’s “desire both to dictate legal strategies to his

counsel and to sue counsel if those strategies are not followed places Lacara in so impossible a situation

that he must be permitted to withdraw.” Id. at 322-23 (holding that District Court abused its discretion

in denying Lacara’s motion to withdraw).


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          Accordingly, even if the Court has concerns regarding its ability to manage its calendar, this

concerns should be overridden by Mr. Joffe’s actions, which have made JW’s continued representation

of him “unreasonably difficult.”

II.       JW IS ENTITLED TO A CHARGING LIEN

          Pursuant to New York Judiciary Law § 475, “[f]rom the commencement of an action, . . . the

attorney who appears for a party has a lien upon his client's cause of action, claim or counterclaim,

which attaches to a verdict, report, determination, decision, judgment or final order in his client's favor

... The court upon the petition of the client or attorney may determine and enforce the lien.” “New York

Judiciary Law § 475 governs attorneys' charging liens in federal courts sitting in New York.” Itar-Tass

Russian News Agency v. Russian Kurier, Inc., 140 F.3d 442, 447 (2d Cir. 1998) (citing Markakis v. S.S.

Mparmpa Christos, 267 F.2d 926, 927 (2d Cir. 1959). “[T]he Second Circuit has ‘long recognized that

the lien created by section 475 … is enforceable in federal courts in accordance with its interpretation by

New York courts.’” Id. at 449 (quoting In re Chesley v. Union Carbide Corp., 927 F.2d 60, 67 (2d Cir.

1991)).

          “‘[I]t has long been held that attorneys who terminate their representation for just cause continue

to be entitled to enforce their liens.” Itar-Tass Russian News Agency, 140 F.3d at 451 (quoting Klein v.

Eubank, 87 N.Y.2d 459, 462, 640 N.Y.S.2d 443, 663 N.E.2d 599 (1996)); Karimian, 2011 U.S. Dist.

LEXIS 51916, at *11 (“Counsel who withdraw voluntarily are entitled to enforce this charging lien,

provided that the withdrawal is for ‘good and sufficient cause.’”) (quoting Benvenisti, 2006 U.S. Dist.

LEXIS 396, 2006 WL 44039, at *2);             Raji, 2016 U.S. Dist. LEXIS 175919, at *9 (in awarding

withdrawing counsel for plaintiff a charging lien, court noted that ‘it is well-settled that an attorney who

terminates his representation for good cause is entitled to enforce a charging lien under’ New York

Judiciary Law § 475...” (quoting Quinones v. Police Dep't of City of N.Y., No. 10-CV-6195 (JGK)



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(JLC), 2012 U.S. Dist. LEXIS 51697, 2012 WL 2148171, at *7 (S.D.N.Y. Apr. 12, 2012), adopted by,

2012 U.S. Dist. LEXIS 82051, 2012 WL 2149572 (S.D.N.Y. June 13, 2012)).

       Much like the criteria for granting a motion to withdraw, the “good cause” standard is met

“where there are ‘irreconcilable differences with respect to the proper course to be pursued in the

litigation,’ where ‘the client flatly challenged counsel’s loyalty and professional integrity,’ or where ‘the

relationship between plaintiffs and their attorney has deteriorated to the point where further

representation is inappropriate.’” Raji, 2016 U.S. Dist. LEXIS 175919, at *11 (quoting Karimian, 2011

U.S. Dist. LEXIS 2011 U.S. Dist. LEXIS 51916, 2011 WL 1900092, at *4 (quoting Lake v. M.P.C.

Trucking Inc., 279 A.D.2d 813, 814, 718 N.Y.S.2d 903 (3d Dep't 2001)) (internal alterations omitted).

As set forth in Point I(A)(2), supra, JW has demonstrated the existence of “irreconcilable differences”

between it and Mr. Joffe. As such, it should be entitled to enforce a charging lien.

       “Under New York law, where an attorney withdraws for cause, he or she is entitled to be

compensated based on quantum meruit.” Bonnaig v. Nunez, 12 Civ. 1853 (HB), 2012 U.S. Dist. LEXIS

176876, 2012 WL 6200977, at *6 (S.D.N.Y. Dec. 11, 2012) (citing Itar-Tass Russian News Agency v.

Russian Kurier, Inc., No. 95 Civ. 2144, 1999 U.S. Dist. LEXIS 1101, 1999 WL 58680, at *12 (S.D.N.Y.

Feb. 4, 1999) (citing Kahn v. Kahn, 186 A.D.2d 719, 588 N.Y.S.2d 658, 659 (2d Dep't 1992)).

“Recovery in quantum meruit is permitted even where the attorney and the client had previously agreed

that the attorney was to be compensated on a contingency basis.” Itar-Tass, 1999 U.S. Dist. LEXIS

1101, 1999 WL 58680, at *12 (citing Blunt v. Northern Oneida Count Landfill, 145 A.D.2d 913, 536

N.Y.S.2d 295, 297 (4th Dep't 1988)).

       “[A] court ‘has discretion to defer the determination of the fair and reasonable value of a

discharged attorney's fees under quantum meruit until the conclusion of the litigation.’” Universal

Acupuncture Pain Servs, P.C., 370 F.3d at 264 (quoting Tops Mkts., Inc. v. Quality Mkts., Inc., No. 93-



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CV-0302E(F), 2001 WL 392082, at *3, 2001 U.S. Dist. LEXIS 4238, at *10 (W.D.N.Y. Apr. 4, 2001));

Raji, 2016 U.S. Dist. LEXIS 175919, at *12 (“defer[ring] any decision on the amount of [plaintiff’s

counsel’s] charging lien until the conclusion of this case.”) (citing Casper v. Lew Lieberbaum & Co.,

No. 97-CV-3016 (JGK) (RLE), 1999 U.S. Dist. LEXIS 7779, 1999 WL 335334, at *7 (S.D.N.Y. May

26, 1999), adhered to on reconsideration, 182 F. Supp. 2d 342 (S.D.N.Y. 2002)).

        In the case at bar, because the case has not yet concluded, it is difficult for the Court to make a

determination of the “fair and reasonable” value of JW’s fees. Accordingly, pursuant to the authority

cited above, JW respectfully requests that the Court defer this determination until the conclusion of the

case.

III.    JW IS ENTITLED TO A RETAINING LIEN

        “‘New York cases recognize ‘a distinct common law ‘retaining lien’ that allows withdrawing

counsel to retain pleadings and other documents in counsel's possession until counsel is paid for his or

her work.’’” Karimian, *16-17 (quoting Allstate Insurance Co. v. Nandi, 258 F. Supp. 2d 309, 311

(S.D.N.Y. 2003) (quoting Rivkin v. A.J. Hollander & Co., No. 95 Civ. 9314, 1996 U.S. Dist. LEXIS

16202, 1996 WL 633217, at *2 (S.D.N.Y. Nov. 1, 1996)).” “The ‘retaining lien’ gives an attorney the

right to keep, with certain exceptions, all of the papers, documents and other personal property of the

client which have come into the lawyer's possession in his or her professional capacity as long as those

items are related to the subject representation.” Universal Acupuncture Pain Servs, P.C. v. Quadrino &

Schwartz, 370 F.3d 250, 261 n. 3 (2d Cir. 2003) (citing Schneider, Kleinick, Weitz, Damashek & Shoot

v. City of New York, 302 A.D.2d 183, 186, 754 N.Y.S.2d 220, 223 (1st Dep't 2002)). “‘[T]he Second

Circuit has held that, absent exigent circumstances, it is an abuse of discretion to require withdrawing

counsel to turn over papers subject to a lien without conditioning it on payment or posting security for

payment of outstanding legal fees.’” Star Funding, Inc., 2017 U.S. Dist. LEXIS 218629, at *6 (quoting



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Allstate Ins. Co. v. Nandi, 258 F. Supp. 2d 309, 312 (S.D.N.Y. 2003)); Raji, 2016 U.S. Dist. LEXIS

175919, at *9 (awarding withdrawing counsel for plaintiff “a retaining lien in the amount of $1,870,”

which represented expenses incurred in the litigation).

       As noted supra, JW has incurred $38,475.85 in expenses in this matter. 1            Pursuant to the

precedent set forth above, JW respectfully requests that the Court affix a retaining lien for this amount.

                                             CONCLUSION

       Javerbaum Wurgaft Hicks Kahn Wikstrom & Sinins, P.C. requests that the Court granting it

leave to withdraw as counsel for Plaintiff David Joffe (“Plaintiff”), affix a retaining lien and a charging

lien against any proceeds recovered by Plaintiff in this matter, and grant such other relief as the Court

deems proper.


Dated: July 13, 2018                         JAVERBAUM WURGAFT HICKS KAHN
                                             WIKSTROM & SININS, P.C.


                                              By:     /s/ Andrew M. Moskowitz
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                                              Withdrawing Attorneys for Plaintiff David A. Joffe




1
 As noted supra, Mr. Joffe has also failed to pay $6,250 of the $15,000 in fees that he owes under the
Retainer Agreement. Moskowitz Decl. ¶ 4. Nevertheless, JW has not sought to make the unpaid fees
subject to a retaining lien.


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